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mw>HzeHmw . m ,W®c .. ®LDIM
m%m:w:. F~mH w w NS\
O»mo O»cno=" =»E.mw < moran O»@¢ 29 ~Lm-G<-:: vm~
d»:x mom$=~vo~. No. Nc: .Hv€¢ o». w_.on¢o&=m" H<Eo=:§.v~ E¢wl=m
§§ down U¢mnlz$o= o~. Hw_:v: diaz iv >a~::€a <<:=¢mm
w mO~ E=:::an= ~:B»S Iw=avoo_» X X >_.=oE E»~iw
m:ww_o~=o:» ~mw:¢a w\~c\:
N mG~ ~.~=:n:wao= ~:=53 Es~:=voo_» X wm >_.=oE maxim
m:cu_o:_¢=» ~ww=¢a :q\:
m W> EOG ~=:53 E»=avoor Nc: X X >~.=o_a Es_.lm
H&So=. monac= ~. ~==B$ Glo<w=o¢
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s FP UOG ~==ES Ew=acoor No: X N >_.=oE Ew~.lm
mamsos. ~@w=oa w\s\~c:

 

 

 

 

 

 

 

 

 

 

 

